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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RUBY FREEMAN and WANDREA’ MOSS,
Plaintiffs,

No. 24-me-353 (LJL)
Vv.

RUDOLPH W. GIULIANI,

Defendant.

SATISFACTION OF JUDGMENT

WHEREAS, on December 18, 2023 a judgment was recovered by the Plaintiffs, Ruby
Freeman and Wandrea’ Moss, against the Defendant, Rudolph W. Giuliani, in the action Freeman,
et. al. v. Giuliani, Case No. 21-cv-3354 (BAH) (D.D.C.) in the United States District Court for the
District of Columbia in the amount of $145,969,000 plus post-judgment interest at the rate of
5.01% per annum, with attorneys’ fees in the amount of $89,172.50 plus post-judgment interest
accruing from July 25, 2023 at the rate of 5.33% per annum, $43,684 plus post-judgment interest
accruing from September 20, 2023 at the rate of 5.42% per annum, and $104,256.50 plus post-
judgment interest accruing from October 6, 2023 at the rate of 5.46% per annum (the “Judgment”);

WHEREAS, on August 5, 2024, the Judgment was registered in this Court pursuant to 28
U.S.C. § 1963 (ECF No. 1);

WHEREAS, on February 21, 2025, the Judgment was fully satisfied;

THEREFORE, full and complete satisfaction of the Judgment is hereby acknowledged,
and the Clerk of the Court is hereby authorized and directed to make an entry of the full and

complete satisfaction on the docket of the Judgment.
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Dated: New York, New York

February 24, 2025.
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Counsel for Plaintiffs Ruby Freeman
and Wandrea’ Moss

STATE OF NEW YORK _)
) SS.:
COUNTY OF NEW YORK )}

On February ¥, 2025, before me, the undersigned notary Public in and for said state, personally
appeared AARON E. NATHAN, personally known to me or proved to me the basis of satisfactory
evidence to be the individual whose name is subscribed to the within instrument and acknowledged
to me that he executed the same in his capacity, and that by his signature on the instrument, the
persons upon behalf of which the individual acted, executed the instrument.

Neth Sern
 NQTARYPUBLIC

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JEANNETTE D. JOHANSEN
Notary Public. State of New York
No 01J04786531
Qualified in New York County
Commission Expires Oct. 31, 2025

